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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

  MARIA LUCADOU,                                  §
                                                  §
       Plaintiff                                  §
                                                  §
  v.                                              §
                                                  §      CIVIL ACTION NO. 23-3347
  FOUR SEASONS DEVELOPMENT CO.,                   §
  INC.; FOUR SEASONS BUSINESS PARK                §      JURY DEMANDED
  CO., INC.; FOUR SEASONS BUSINESS                §
  PARK I, LLC; and FOUR SEASONS                   §
  BUSINESS PARK II, LTD.                          §
                                                  §
       Defendants.
                                   ‘
         ORDER GRANTING JOINT MOTION TO DISMISS WITH PREJUDICE

        On the below date, the Court considered Plaintiff Maria Lucadou and Defendants Four

Seasons Development Co., Inc.; Four Seasons Business Park Co., Inc.; Four Seasons Business

Park I, LLC; and Four Seasons Business Park II, Ltd.’s (collectively referred to as “Defendants”)

Joint Motion to Dismiss with Prejudice. After considering the Motion, the Court is of the opinion

that said Motion should be GRANTED. It is therefore ORDERED that the Joint Agreed Motion

to Dismiss with Prejudice is GRANTED and all claims as asserted by and between Plaintiff and

Defendants are dismissed with prejudice as to the right of refiling same or any part thereof.

        IT IS FURTHER ORDERED, ADJUDGED, and DECREED that all costs be assessed

against the party incurring the same except as otherwise agreed to by the parties in writing.

        SIGNED THIS _______ day of ___________________, __________.



                                                             _____________________________
                                                             JUDGE PRESIDING
